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UNITED STATES DlSTRIcT CouRT

WESTERN DISTRICT OF TENNESSEE
Eastern Division

MARY BETH FLOWERS JUDGMENT lN A ClVlL CASE

V.

MEMPHIS SLEEP LABS, INC.
d/b/a MlD-SOUTH SLEEP

DISORDER CLINIC CASE NUMBERZ 04-1287-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T |S ORDERED AND ADJUDGED that in compliance With the order entered in
the above-styled matter on l7/2],,/05, the defendant's motion for summary judgment is
GRANTED and this cause is hereby DlSi\/i|SSED. '

  

 

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JAM S D. ToDD z§ ;'. a

UN ED STATES DISTRICT JUDGE

THOMAS i\/I. GOULD
CLERK

haag/cs BY: . CQM

DEP UTY CL'ERK

 

DATE

This document entered on the docket sheet in compliance

With Ruie 58 and/or 79(a) FRCP on 7 l§\g| f 2 § }.

 

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Honorable J ames Todd
US DISTRICT COURT

